        1:15-cv-01447-MMM # 69          Page 1 of 3
                                                                                              E-FILED
                                                          Tuesday, 13 September, 2016 12:23:37 PM
                                                                      Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS


SANDRA BROWN, #R-359000, et al.,            )
                                            )
                      Plaintiffs,           )        No. 15 C 1447
                                            )
                      v.                    )
                                            )
ANGELA LOCKE, et al.,                       )
                                            )
                      Defendants.           )

             DEFENDANTS’ MOTION TO AMEND SCHEDULING ORDER

       NOW COME the Defendants, ANGELA LOCKE, CLARA CHARRON (sued as

“Sharon”), ALAN PASLEY, DEBBIE DENNING, JOSEPH YURKOVICH, FELIPE ZAVALA,

RENEE HATFIELD, JOHN BALDWIN, CHRISTINE BRANNON, J. NESWICK, AARON

LEESMAN, MONICA SLATER, TAMMY LINNE, JOSHUA MERREIGHN, DANA

CHAUDOIN (sued as “Chaddon”), DUSTY MONTGOMERY, JEFF MASON, SHABEDA

WARDEN-PENNINGTON, DAVID BRAINARD, and PENNY JOHNSON, by and through

their attorney, Lisa Madigan, Attorney General for the State of Illinois, and for their Motion to

Amend the Scheduling Order, state as follows:

   1. On August 11, 2016, the Court set September 13, 2016 as the deadline for the completion

of class discovery. (August 11, 2016 Minute Entry)

   2. On September 12, 2016, Plaintiff filed an Emergency Motion for Protective Order

Barring Improper Interviews. (ECF No. 67.) The Court granted Plaintiff’s motion in part and

reserved ruling in part. (ECF No. 68.) In granting the motion, the Court ordered that until the

motion could be heard by the Court, “the interviews of the non-named/putative class members




                                                1
        1:15-cv-01447-MMM # 69            Page 2 of 3



will not occur on the subject matter of this litigation or issues in the Thorgmorton litigation

unless there is agreement amongst the Parties.” (Id.)

   3. The parties had initially agreed that Sandra Brown’s deposition take place on September

13, 2016. Plaintiff’s counsel requested that the deposition be rescheduled, and the parties have

agreed upon September 22, 2016 for Brown’s rescheduled deposition.

   4. Since Defendants cannot complete their class discovery until after the Court rules on

Plaintiff’s motion, and out of an abundance of caution, Defendants ask that the Court provide

them with a reasonable time period following the Court’s ruling on Plaintiff’s motion to

complete interviews of non-named/putative class members in this matter.

   5. The undersigned contacted Plaintiff’s counsel by email yesterday to determine whether

she had an objection to the instant motion, but did not receive a response to her email.

       WHEREFORE, the Defendants request that the Court grant them a reasonable time

period following the Court’s ruling on Plaintiff’s Emergency Motion for Protective Order

Barring Improper Interviews to complete class discovery, and for such further relief that the

Court finds reasonable and just.

                                                        Respectfully submitted,

LISA MADIGAN
Attorney General of Illinois                            s/ Jennifer Lutzke
                                                        JENNIFER LUTZKE
                                                        Assistant Attorney General
                                                        General Law Bureau
                                                        100 W. Randolph, 13th Floor
                                                        Chicago, Illinois 60601
                                                        (312) 814-3711
                                                        jlutzke@atg.state.il.us




                                                 2
        1:15-cv-01447-MMM # 69           Page 3 of 3



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

SANDRA BROWN, #R-35900, et al.,             )
                                            )
              Plaintiffs,                   )
                                            )
       vs.                                  )              No. 15-1447-MMM
                                            )
ANGELA LOCKE, et al.,                       )
                                            )
              Defendants.                   )

                               CERTIFICATE OF SERVICE

       I hereby certify that on September 13, 2016 I caused to be electronically filed the
foregoing Defendants’ Motion to Amend Scheduling Order with the Clerk of Court using the
CM/ECF system which will send notification of such filing to the following:

                      Arthur Loevy                  loevylaw@loevy.com
                      Jonathan Loevy                jon@loevy.com
                      Michael Kanovitz              mike@loevy.com
                      Ruth Brown                    ruth@loevy.com
                      Tara Thompson                 tara@loevy.com

and I hereby certify that on September 13, 2016 I caused to be mailed by United States Postal
Service, the document to the following non-registered participant:

                                            NONE


                                                    Respectfully Submitted,


                                                    s/ Jennifer Lutzke
                                                    Jennifer Lutzke
                                                    Assistant Attorney General
                                                    Office of the Illinois Attorney General
                                                    100 W. Randolph, 13th Floor
                                                    Chicago, Illinois 60601
                                                    (312) 814-3711 Phone
                                                    (312) 814-4425 Fax
                                                    Email: jlutzke@atg.state.il.us




                                                3
